                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )      Criminal No. 3:11-00082
                                                      )      Judge Trauger
                                                      )
TRAVIS LYNN GENTRY, et al.                            )

                                            ORDER

       In a sealed motion filed with the court, a defense counsel has stated that the “Government

has indicated that Jencks material will be turned over to counsel the evening before the witness

testifies. . . .” At the pretrial conference held on September 26, 2012, the government

represented that it would be turning over most of the Jencks material “at the latest” on the day

before the trial and that it might withhold a few Jencks statements until the day before the

witness testifies. The representation of defense counsel does not comport with the

representations made by the government at the pretrial conference.

       It is hereby ORDERED that, by 12:00 noon on Thursday, October 18, 2012, the

government shall file a notice indicating its timetable for turning over Jencks material to the

defense. As stated at the pretrial conference, the court’s primary concern is that there be no

delays in the trial because of the later turnover of Jencks material to defense counsel.

       It is so ORDERED.

       ENTER this 17th day of October 2012.


                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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